
Active Care Medical Supply Corp., as Assignee of Wigfall, Floyd, Appellant,
againstAmerican Transit Ins. Co., Respondent.




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Daniel J. Tucker, Esq. (Daniel J. Tucker and Netanel BenChaim of counsel), for respondent.
 

Appeal from an order of the Civil Court of the City of New York, Kings County (Katherine A. Levine, J.), entered July 15, 2015. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint.
For the reasons stated in Active Care Med. Supply Corp., as Assignee of Munoz, Lina M. v American Tr. Ins. Co. (__ Misc 3d ___, 2018 NY Slip Op _____ [appeal No. 2015-2178 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: June 01, 2018










